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                  UNITED STATES GOVERNMENT
                  NATIONAL LABOR RELATIONS BOARD
                  OFFICE OF THE GENERAL COUNSEL
                  Washington, DC 20570-0001


VIA CM/ECF
                                  April 10, 2024

Lyle W. Cayce, Clerk of Court
  United States Court of Appeals for the Fifth Circuit
 F. Edward Hebert Building
 600 S. Maestri Place
 New Orleans, LA 70130
Re:   In re: Space Exploration Technologies Corp., No. 24-40103 (en banc)
      (panel: Circuit Judges Elrod, Haynes, and Douglas)


Dear Mr. Cayce:
     In a 28(j) letter, Petitioner SpaceX cites In re Fort Worth Chamber
of Commerce, No. 24-10266 (5th Cir. Apr. 5, 2024), which granted
mandamus relating to a transfer under 28 U.S.C. § 1404(a). But the
instant case involves a transfer under 28 U.S.C. § 1406(a). And nothing in
Fort Worth supports the extraordinary and disfavored step of en banc
rehearing here.
      In the last six weeks, two panels of this Court have issued published
opinions applying the mandamus standards to transfers (Fort Worth and
In re Clarke, 94 F.4th 502 (5th Cir. 2024)). This Court has therefore
explained “the propriety of mandamus in the transfer context” (28(j)
Letter at 1), and “clarif[ied] the applicable law,” (id. at 1-2), so en banc
consideration is unwarranted here. Clarifying the law is also not a proper
function of en banc rehearing, especially here, where there is no conflict
with binding precedent.
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      Fort Worth’s statement that an inter-circuit transfer “strengthens
the case for mandamus,” (id. Ex. A at 12 & n.27), does not move the
needle. That statement speaks only to the first mandamus factor, which
assesses whether mandamus is the petitioner’s only adequate route.
Here, however, SpaceX could have sought an interlocutory appeal to
challenge the district court’s Section 1406(a) transfer order, but it did not
do so.
      Judge Oldham’s concurring opinion in Fort Worth offers no help to
SpaceX. Courts must give effect to Congress’s decision to, as Judge
Oldham points out, “add[] the qualification ‘substantial’ to” the
transactional-venue provision of 28 U.S.C. § 1391(e). (Id. Ex. A at 16). The
district court here did exactly that. SpaceX’s contrary view ignores this
important qualifier and would permit any connection, however
attenuated or insubstantial, to support venue.
      Finally, SpaceX misuses quotation marks to improperly accuse the
district court of applying a “most substantial” venue test (id. at 2), as
neither the district court nor the panel majority used that phrase.
Moreover, the district court did not apply such a standard. Indeed, it
explicitly noted that it was not required to determine the “best” venue.
(Dist. ECF 82, at 2).
                                   Sincerely,
                                   /s David P. Boehm
                                   DAVID P. BOEHM
                                   Trial Attorney

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cc: Counsel of Record (via CM/ECF)
